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                                    UNITED STATES OF AMERICA
                                  Federal Trade Commission
                                       Washington, D.C. 20580




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                                                                February 6, 2023

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
95 Seventh Street
San Francisco, California 94103

                              Re: FTC v. Apex Capital Group, LLC, No. 22-55342

Dear Ms. Dwyer:

      I write to bring to the Court’s attention the Eleventh Circuit’s recent decision
in FTC v. Simple Health Plans LLC, No. 21-13116, 2023 WL 465660 (11th Cir.
Jan. 27, 2023), a published opinion directly pertinent to an issue in this case. See
F.R.A.P. 28(j).

       A threshold issue in this case is whether Wells Fargo has Article III standing
to intervene as of right. The bank contends (Br. 5-6, 21-25) that it suffered a
redressable injury from the district court’s appointment of a Receiver who
allegedly lacks the authority to marshal the assets of the underlying defendants,
including claims against third parties such as the bank. The argument is that the
underlying monetary judgments are no longer supportable under Section 13(b) of
the FTC Act, 15 U.S.C. § 53(b), after AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct.
1341 (2021). We showed (FTC Br. 6-8, 19-23) that the appointment of the
Receiver and his ongoing lawsuits have caused no injury because the judgments
are independently supported by Section 19 of the FTC Act, 15 U.S.C. § 57b,
which allows monetary remedies in certain situations notwithstanding AMG.
Specifically, the underlying judgments rested in part on violations of the Restore
Online Shoppers’ Confidence Act (ROSCA), which can be enforced under Section
19. The Receiver therefore could pursue collection efforts to support the
judgments.
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       In Simple Health, the Eleventh Circuit held that Section 19(b), 15 U.S.C.
§ 57b(b), “authorizes the district court to grant ‘such relief as the court finds
necessary to redress injury to consumers,’” including receiverships to preserve
funds for consumer redress. Id., 2023 WL 465660, at *4-*5. The Eleventh Circuit
recognized that receivers have long been appointed to preserve property and are
often necessary for meaningful consumer redress. Id. at *5. That holding directly
supports the district court’s appointment of the Receiver and the Receiver’s efforts
to marshal assets necessary to redress the defendants’ violations of ROSCA.

                                                    Sincerely,

                                                    s/ Michael D. Bergman
                                                    Michael D. Bergman
                                                    Attorney
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                      CERTIFICATE OF COMPLIANCE

      I certify that the body of the foregoing letter contains 317 words and is thus
in compliance with the 350-word count limit in Fed. R. App. P. 28(j) and 9th Cir.
R. 28-6.


February 6, 2023                              Michael D. Bergman
                                              Michael D. Bergman
                                              Attorney
                                              Federal Trade Commission




                         CERTIFICATE OF SERVICE

       I certify that on February 6, 2023, I electronically filed the foregoing with
the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit
by using the CM/ECF system. I certify that all participants in the case are
registered CM/ECF users and that service will be accomplished by the CM/ECF
system.

February 6, 2023                              Michael D. Bergman
                                              Michael D. Bergman
                                              Attorney
                                              Federal Trade Commission
